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            8                        UNITED STATES DISTRICT COURT
            9                       CENTRAL DISTRICT OF CALIFORNIA
          10                                  SOUTHERN DIVISION
          11     NETLIST INC., a Delaware                   CASE NO. 8:20-cv-993-MSC (DFMx)
          12     corporation,
                                                        [PROPOSED] ORDER GRANTING
          13                     Plaintiff,             PLAINTIFF NETLIST INC.’S MOTION
                                                        TO COMPEL RESPONSES TO
          14          v.                                INTERROGATORY NO. 8 AND
                                                        REQUEST FOR PRODUCTION NO. 11
          15     SAMSUNG ELECTRONICS CO.,
                 LTD., a Korean corporation,
          16                     Defendant.
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Gibson, Dunn &
Crutcher LLP                                            1
                              [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL
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            1           This matter came before the Court on Plaintiff Netlist Inc.’s Motion to Compel
            2    Responses to Interrogatory No. 8 and Request for Production No. 11. The Court,
            3    having considered the memoranda submitted, the relevant authorities, and the
            4    arguments of counsel,
            5           HEREBY FINDS that Plaintiff Netlist Inc.’s Motion to Compel is GRANTED.
            6         In response to Request for Production No. 11, Defendant must produce data
            7           summarizing, by customer and product, monthly unit and pricing totals for
            8           Samsung NAND and DRAM products sold to customers other than Netlist.1
            9           This can be limited to the time period of November 2015 through July 2020.
          10            This may be in the form of an Excel file or files reflecting data exported from
          11            Defendants’ records and/or those of its subsidiaries or affiliates as applicable.
          12          In response to Interrogatory No. 8, Defendant must identify the data files
          13            produced above and provide any further narrative response as necessary to
          14            explain the data produced. For example, if multiple Excel files are produced,
          15            Defendant should explain what data is covered by the respective files, or other
          16            identifying facts if not apparent on the face of the file.
          17     The above responses shall be due 28 days from the date of this Order.
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          19     Dated: _______________, 2021
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          21                                                          Hon. Douglas F. McCormick
          22                                                          United States Magistrate Judge
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                     Sales to or for Apple or its subsidiaries are excluded from this Order.
Gibson, Dunn &
Crutcher LLP                                                   2
                                  [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL
